UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
BETTY PELC, et al.,
Plaintiffs,
v. Case No.: 8:11-cv-00079-EAK-TGW
JOHN .]EROME NOWAK,
Defendants.
/

 

AFFIDAVIT AS TO ATTORNEYS’ FEES AND EXPENSES
STATE OF FLORIDA
COUNTY OF _HILLSBOROUGH

BEFORE ME, the undersigned authority, personally appeared J. Todd Tirnmennan,
Who, after being first duly swom, deposes and says:

l. l am an attorney in the law finn of Shumaker, Loop & Kendrick, LLP (“SLK”) and
the attorney at SLK Who has had primary responsibility for representing the Plaintiffs in this
action.

2. This Aff`idavit is made for the purpose of establishing the amount of attorneys’ fees
and expenses to Which Plaintiffs are entitled in this action.

3. This Affidavit is based upon iny personal knowledge of the facts stated in this
Affidavit or those facts as they appear in the business records of SLK. These records Were kept
in the ordinary course of business at SLK, and it Was and is the regular practice of this firm to

keep such records, specifically including tiine records kept by attorneys and paralegals With the

finn

 

4. Since December 14, 2010, SLK has billed Plaintiffs the total sum of $22,250.92 for
attorneys’ services and expenses in connection with the trademark and unfair competition claims
in this action. This amount reflects 64.8 hours of attorneys’ and paralegals’ time. This total sum
is fair and reasonable and accurately reflects the fees incinred by Plaintiffs with SLK in this
action.

5. So that the Court may consider the relevant guidelines for an award of attorneys’ fees
as set forth in Florida Patient’s Compensation Fund v. Rowe, 472 So. 2d 1145 (Fla. 1985), the
following information is submitted;

(a) The time and labor required The hours spent on this matter by SLK are set forth

 

in the schedule attached hereto as Exhibit “A”. The schedule provides the date the services were
rendered, a description of the services rendered, the amotmt of attorney or paralegal time devoted
to the services, the hourly rate of the attorney or paralegal, and the amount billed for the services.

(b) Novelty or difficulty of the questions This case involved allegations of federal

 

trademark infringement and unfair competition, common law trademark infringement and unfair
competition, and other claims.

(c) The skill requisite to perform the legal services properly. The pleadings speak for
themselves and should be considered by the Court in connection with this consideration

(d) Preclusion of other employment by the attorney due to the acceptance of this case.
No extraordinary consideration need be given this factor.

(e) The customary fee. The hourly fees charged in this case are regularly charged by
the firm to its clients for similar services and do not exceed rates charged for similar work by

attorneys in this area.

(f) The amount involved and the results obtained No extraordinary consideration
need be given this matter, although Plaintiffs’ did prevail on the primary claims in this action on
summary judgment and at trial.

(g) Time limitations by the client or circumstances No extraordinary consideration

 

need be given this factor.

(h) The nature and length of the professional relationship with the client. No
extraordinary consideration need be given this factor.

(i) The experience, reputation and ability of attorneys SLK is a national law firm
with offices in Florida, Ohio and North Carolina. l have been active in the practice of law since
1992, and l am presently licensed to practice law in the State of Florida. l am a partner in the
frrrn, Chair of its national lntellectual Property Law Practice Group, and Board Certifred by the
Florida Bar in the area of intellectual property law. Mindi l\/l. Richter, Jason P. Stearns, and
Elena A. Kohn are associates with the firm, and Lori A. Nelson is a paralegal with the firm.
These factors are reflected in the rates charged.by SLK in this matter.

(j) Whether the fees is fixed or contingent The fee is frxed. However, there appears
` nothing in this action which would require extraordinary consideration of this factor by this
Court.

.(k) Award in similar cases In cases of a similar nature, the Courts award at a
minimum the amounts actually charged by attorneys to their clients

FURTHER AFFIANT SAYETH NAUGHT.

 

J. Todd Timmerman

The foregoing instrument was sworn to a subscribed before me this 17th day of October,
2012, by J. Todd Tirmnennan, who is personally known to me and who did take an oath.

NOTARY PUBLIC

 

 

 

__-;§;\"!%,' HEATHER DECOEUR

515 -_.;§ Corrrmission # EE 138503
=_? §§ Exp\resOctobert'/', 2015
?»?,,q¢;, §§ somemmrmymnmwmooo¢as.vme

 

 

 

EXHIBIT “A”

SUMMARY OF ATTORNEYS’ FEES AND COSTS

 

DATE

Ol/lO/ll

()l/l()/ll
Cl/ll/ll

01/ll/ll
Ol/lZ/ll

Ol/lZ/ll

01/13/ll

Ol/l4/ll

Ol/l4/ll

01/]8/1]

OZ/Ol/ll

02/08/]1

02/24/1 l

03/01/11

03/02/]1

03/04/11
03/08/11

'DESCRIPTION OF SERVICES RENDERED

Assist in filing Complaint; obtain filing fee for complaint;
prepare Civil Cover Sheet and Suminons.

Review complaint and gather information for filing

Continue to assist in filing Complaint; finalize Civil
Cover Sheet and Summons; prepare CD of all documents
to be filed

Review complaint; attention to filing and service of same.

Locate process server in Lackawanna, NY; arrange for
service of Summons and Complaint on John J. Nowak.

Attention to status of filing and serving complaint; review
inquiry from B. Pelc regarding pi'ocedure; respond to
same.

Review filings; attention to compliance with court's
standing order regarding lengthy documents;
correspondence to D. Rivera regarding court filings
and motion for admission pro hac vice; respond to
inquiry from B. Pelc regarding status of service_

Receive and review outgoing communication to opposing
counsel from T_ Timmerman.

Prepare courtesy copy of Complaint for delivery to Judge
Kovachevich.

Telephone conference with process server to check on
status of service on J. Nowak.

File Aff`idavit of Service on Nowak.

Review message from E. Gegan; correspondence to D.
Rivera regarding same; telephone conference With B.
Pelc regarding same.

Review motion to dismiss; con'espondence to D. Rivera
regarding same.

Coiiference with D. Rivera regarding pro hac admission to
the Middle District of Florida; prepare Motion for
Adinission Pro Hac Vice for Domingo Rivera; prepare
Special Admission - Attomey Ceitification.

Further communications With D. Rivera regarding pro hac
admission to the Middle District of Florida; telephone
conference With Clerk of Court to confiiin filing fees and
procedures

Receive and review Defendant's Motion to Dismiss.

Telephone conference With D. Rivera regarding
conversation regarding arrest warrant for John Nowak.

 

ATTY HOURS RATE AMT
LAN 1.30 $215.00 3279.50
l\/ll\/IR .30 $305.00 $91.50
LAN 2.00 $215.00 $430.00

JTT l.OO $410.00 $4l0.00
LAN l.OO $215.00 $215.00
JTT .25 $410.00 $102.50
JTT .75 $410.00 $307.50
LAN .20 $215.00 $43 .OO
LAN .30 $215.00 $64.50
LAN .20 $2l5.00 $43 .OO
LAN .20 $215.00 $43.00
JTT .25 $410.00 $102.50
JTT l.OO S4l0.00 $410.00
LAN 1.00 $2]5.00 $215.00
LAN .40 $215.00 $86.00
LAN .20 $215.00 $43.00
JTT .50 $410.00 $205.00

 

 

DATE

O3/lO/ll

03/10/11

03/ll/ll

03/ll/ll

03/14/11
03/14/ll

03/15/11
03/15/ll

03/17/1]

03/l8/ll

03/]8/1]

03/ll/ll

05/17/ll

05/24/1 l

05/27/11

05/3l/ll

06/02/1 l

06/06/11

06/14/11

DESCRIPTION OF SERVICES RENDERED

Reviewing memorandum of law in opposition to motion to
dismiss; attention to procuring extension of time for same;
conference with J. Steams regarding same.
Review/edit/revise response to motion to dismiss;

draft/edit/revise motion for enlargement of time to
respond

Conference with J. Steams regarding response to motion
to dismiss; attention to iile; review notice of designation;
correspondence to D. Rivera regarding same.

RevieW/_edit/r_evise response to motion to dismiss;
draft/edit/revise motion for enlargement of time to
respond

Review and comment on response to motion to dismiss

RevieW/edit/revise response to motion to dismiss;
draft/edit/revise motion for enlargement of time to
respond

Prepare draft Case Management Report.

Further attention and revisions to response to motion to
dismiss

Finalize Motion for Pro Hac Vice and all related
paperwork; obtain filing fee for Pro Hac Vice.

Edit, revise and file motion for admission pro hac vice;
correspondence to D. Rivera regarding same; prepare for
and participate in case management conference;
telephone conference with D. Rivera regarding same ; edit
and revise case management i‘eport; correspondence to E.
Gegan and D. Rivera regarding same.

Arrange for filing of Special Admission Attorney
Certif`icatioii.

Attention to file; draft and file notice of compliance With
3.0] (g) regarding Nowak's Withdrawal of opposition to
motion to appear pro hac vice.

Attention to file and correspondence regarding motion for
leave to file reply affidavit in support of motion to
dismiss and transfer venue.

Correspondence With opposing counsel regarding notice
ofmediation conference. .

Review Nowak's initial disclosures; follow up with D.
Rivera regarding same.

Review initial disclosures received from E_. Gegan;
correspondence to R. and B. Pelc regarding same.

Correspondence With opposing counsel regarding
selection of
mediator.

Multiple exchanges regarding mediation and amending
the complaint; draft and file notice of selecting
mediator. ~

Review new defamatory website posted by Nowak in
preparation for amended complaint; correspondence with
D. Rivera regarding same.

 

ATTY HOURS RATE AMT
JTT l.50 $410.00 $6]5.00
JPS 4.10 $250.00 $1,025.00
JTT l.50 $4l0.00 $615.00
JPS 2.40 $250.00 $600.00
JTT .75 $410.00 $307.50
JPS 5.80 250.00 1,450.00
JTT .75 $410.00 $307.50
JPS 1.60 $250.00 $400.00
LAN .80 3215.00 $172.00
JTT 2.00 $410.00 $820.00

LAN .20 $215.00 $43.00
JPS _80 $250.00 SZO0.00
JPS .20 $250.00 $50.00
JPS .20 $250.00 $50.00
JTT .25 $410.00 $lOZ.§O
JTT .25 $4]0.0() $102.50
JPS .lO $250.00 $25,00
JPS .60 $250.00 $150.00
JPS .5() $250.00 $125.00

 

DATE DESCRIPTION OF SERVICES RENDERED ATTY HOURS RATE AMT

06/24/ ll Review amended complaint in g preparation for filing JPS l.20 $250.00 $300.00
same.

06/30/11 Telephone ca11 with D. Rivera to discuss amended JPS 1_00 $250_00 3250_00
complaint and edits and revision to same in light of
conversation

07/()1/]1 Review/edit/revise amended complaint and JPS 1_2 5 $25()_()() $312_50
coirespondence With D. Rivera regarding same.

07/19/11 Review response to Motion for Leave to Amend JTT .25 $410.00 $102.50

Complaint; correspondence to Richard and Betty Pelc
regarding same.

07/28/11 JPS .lO $250.00 $25.00

Telephone call With opposing counsel to discuss
outstanding discovery.

08/03/11 Phone call with E. Gegan regarding his motion to JPS ,60 $26(),()() $150_()0
Withdraw as counsel and his client's request to
supplement his responses to the discovery requests;
correspondence regarding same.

08/22/11 Review orders on Motion to Amend/Supplement JTT .25 $410.00 $102.50
Complaint and Motion to Withdraw.

]()/] 1 /1] Review Amended Complaint; correspondence to D. ]TT _5() $41()_()() $2()5_()0
Rivera regarding same.

10/12/]1 Phone call to Judge Kovachevich's clerk regarding JPS _40 SQ§()_()O $1()0_00

inadvertently filed amended complaint; phone call With
Domingo Rivera regarding same.

01/()9/12 Review motion to set aside default; correspondence to D. JTT _50 $425_00 $212.50
Rivera regarding same.

01/16/12 Review and consider Motion to Compel. JTT 30 $425,()0 $127_ 50

01 /25/ 12 Review and evaluate answer and counterclaim filed by J. JTT _75 3425_00 $318_75

Nowak; correspondence to D. Rivera regarding
thoughts on how to address same.

02/07/ 12 Review order granting motion to compel. JTT .25 $425.00 $106.25

02/13/12 Review Motion to Strike Answer and Disiniss JTT .75 $425.00 $318.75
Counterclaim.

02/]5/12 Review e-mail from J. Nowak; attention to internal JTT ]_25 $425_00 $531_25

SLK communications regarding same; correspondence to
R. and B. Pelc_ regarding same; correspondence to D.
Rivera regarding same.

02/16/12 Review/analyze various avenues to sanction Nowak for JPS _6() $265.()() $159_00
sending harassing emails.

02/21/ 12 Phone call with D. Rivera's Ofiice regarding mediation JPS .50 $265.00 $132.50

02/23/12 Correspondence with D. Rivera's office regarding JPS _]0 $265_00 $26_50
Nowak's discovei'y.

03/26/ 12 Review motions for summary judgment and motion for JTT l.OO $425.00 $425.00

enlargement of number of pages; correspond to D. Rivera
regarding same.

04/02/12 Receive and review documents from Nowak. LAN .30 $22().00 $66.00

04/17/12 Review inquiries from D. Rivera regarding pre-trial JTT ,50 $425_00 $212_50
obligations and local rules, respond to same.

05/10/12 Research local rules to determine whether lead counsel in EAK .50 $220.00 $l l0.00

a case has to be present during a pretrial conference

 

 

DATE DESCRIPTION OF SERVICES RENDERED ATTY HOURS RATE AMT

05/1 1/12 Research the requirements for and draft a motion to EAK l.50 $220.00 $330.00
continue pretrial conference

05/15/12 Revise/edit motion to continue pretrial conference; phone JPS _90 $265,00 32 3 8_50
call and correspondence With J. Chiang regarding same.

05/21/]2 Email to Doiningo Rivera regarding deposition of JPS .lO $265.00 $26.50
Nowak.

06/20/]2 Prepare for and attend Pretrial Conference. JTT 2.50 $425.00 1,062.50

07/02/12 Receive, review and respond to communications from co- LAN .60 $220.00 $132.00
counsel; Receive and review Order received from Coui't.

07/06/ 12 Correspondence to D. Rivera regarding thoughts on JTT .50 $425.00 $212.50
strategies to conclude case.

07/09/ 12 Receive and review court filings LAN .20 $220.00 344.00

07/16/12 Prepare for and attend trial. JTT l0.00 $425.00 $4,250.00

07/30/ 12 Reviewing and commenting on proposed motion and JTT v.50 $425.00 $212.50

order for damages and injunctive relief.

64.80 $21,053.50

FEES:

TOTAL HOURS FOR J. Todd Timmerman:
TOTAL HOURS FOR J. Todd Timtnerman:

TOTAL HOURS FOR Mindi M. Richter:
TOTAL HOURS FOR Jason P. Steams:
TOTAL HOURS FOR Jason P. Steains:
TOTAL HOURS FOR Elena A. Kohn:
TOTAL HOURS FOR Lori A. Nelson:
TOTAL HOURS FOR Lori A. Nelson:

COSTS:
Document Reproduction

Federal Express

PACER/F ederal District Court Electronic Access

Long Distance Telephone

Long Distance Telephone: 180433265 85
Color Document Reproduction

Westlaw Court Document Searches

ll.75
18.80
.30
20.85
2.20
2.00
7.80
l.lO

Filling Fees; Clerk of Court (Paid l/lO/l 1, ck. #101813) (1/25/11)

Service of Process; Esquire Process Servers, LLC (Paid l/12/l l, ck.#101876) (1/25/11)
Court Costs; Clerk US District Court (3/17/11)

hours @ $410.00/hour =
hours @ $425.00/hour =
hours @ $305.00/hour =
hours @ $ZS0.00/hour =
hours @ $265.00/hour =
hours @ $220.00/hour =
hours @ $2 l 5.00/hour =
hours @ $220.00/hour =
TOTAL FEES:

99€£&6596669&6&9%%

TOTAL COSTS: $

GRAND TOTAL FEES AND COSTS: $

$
$
$
$
$
$
S
$
$

4,817.50
7,990.00
91 .50
5,212.50
583.00
440.00
1,677.00
242.00

21,053.50

408.20
40.82

42.25
2.70
.20
223.20
80.05
350.00
40.00
10.00

1,197.42

22,250.92

